

People v Anonymous (2021 NY Slip Op 04279)





People v Anonymous


2021 NY Slip Op 04279


Decided on July 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 08, 2021

Before: Manzanet-Daniels, J.P., Webber, Singh, Kennedy, JJ. 


Ind No. 645/17, 3725/16 Appeal No. 14174-14174A Case No. 2019-4502 

[*1]The People of the State of New York, Respondent,
vAnonymous, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (John L. Palmer of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



Judgments, Supreme Court, Bronx County (Steven L. Barrett, J.), rendered April 3, 2019, convicting defendant, upon his pleas of guilty, of two counts of assault in the second degree, and sentencing him to consecutive terms of five years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of directing that the sentences be served concurrently, and otherwise affirmed.
We find the sentence excessive to the extent indicated. The record does not establish a valid appeal waiver.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 8, 2021








